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7 PROTECTIVE SOLUTIONS, LP; CRISIS24 PROTECTIVE SOLUTIONS
  HOLDINGS, INC.
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10
                               UNITED STATES DISTRICT COURT
11
                              CENTRAL DISTRICT OF CALIFORNIA
12
13    DUBWANA CLARK, an individual,            Case No. 2:24-cv-08579
14              Plaintiff,                     NOTICE OF RELATED CASES IN
                                               SUPPORT OF DEFENDANTS’
15         v.                                  PETITION AND NOTICE OF
                                               REMOVAL
16    CRISIS 24, INC.; CRISIS24
      PROTECTIVE SOLUTIONS, INC.;              [DIVERSITY JURISDICTION]
17    CRISIS24 PROTECTIVE
      SOLUTIONS, LP; CRISIS24                  [Filed concurrently with Notice of
18    PROTECTIVE SOLUTIONS                     Removal, Declaration of Mark W.
      HOLDINGS, INC.; and DOES 1-20,           Wallin, Notice of Interested Parties,
19    inclusive,                               Declaration of Gabor Bukszar, and
                                               Civil Cover Sheet]
20              Defendants.
                                               Complaint Filed: August 16, 2024
21                                             Trial Date:       Not Set
                                               District Judge:   TBD
22                                             Magistrate Judge: TBD
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                       DEFENDANTS’ NOTICE OF RELATED CASES
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 1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2 DISTRICT OF CALIFORNIA, AND TO PLAINTIFF AND HIS COUNSEL OF
 3 RECORD:
 4         Pursuant to Local Rule 83-1.3.1 of this Court, the undersigned counsel of record
 5 for Defendants Crisis 24, Inc.; Crisis24 Protective Solutions, Inc.; Crisis24 Protective
 6 Solutions, Lp; Crisis24 Protective Solutions Holdings, Inc. (“Defendants”) certify that
 7 Defendants are not aware of any actions previously filed or currently pending in the
 8 Central District or any other court that, together with the instant action, arise from or
 9 involve the same or closely related transactions, happening, or events, or call for
10 determination of the same or substantially related or similar questions of law or fact, or
11 will entail substantial duplication of labor if heard by different judges.
12
13
      Dated October 4, 2024:                 BARNES & THORNBURG LLP
14
15                                           By: /s/ Mark W. Wallin
                                                Mark W. Wallin
16                                              Michael P. Witczak
                                                Attorneys for Defendants,
17                                              CRISIS 24, INC.; CRISIS24
                                                PROTECTIVE SOLUTIONS, INC.;
18                                              CRISIS24 PROTECTIVE
                                                SOLUTIONS, LP; CRISIS24
19                                              PROTECTIVE SOLUTIONS
                                                HOLDINGS, INC.
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                  DEFENDANT’S PETITION NOTICE OF RELATED CASES
